              IN THE UNITED STATES DISTRICT COURT
           FOR THE MIDDLE DISTRICT OF NORTH CAROLINA


                                        :
  SECURITIES AND EXCHANGE               :
  COMMISSION,                           :
                                        :
                             Plaintiff, : Civil Action No.
                   v.                   : 1:24-cv-00771 -UA-JLW
                                        :
  WILLIAM RHEW III,                     :
                                        :
                                        :
                      Defendant         :
______________________________________ :

                               CONSENT JUDGMENT


      The Securities and Exchange Commission having filed a Complaint and

Defendant William Rhew III (“Rhew” or “Defendant”) having entered a general

appearance; consented to the Court’s jurisdiction over him and the subject matter

of this action; consented to entry of this Judgment without admitting or denying the

allegations of the Complaint (except as to jurisdiction and except as otherwise

provided herein in paragraph VI); waived findings of fact and conclusions of law;

and waived any right to appeal from this Judgment:

                                         I.

      IT IS HEREBY ORDERED, ADJUDGED, AND DECREED that

Defendant is permanently restrained and enjoined from violating, directly or


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indirectly, Section 10(b) of the Securities Exchange Act of 1934 (the “Exchange

Act”) [15 U.S.C. § 78j(b)] and Rule 10b-5 promulgated thereunder [17 C.F.R.

§ 240.10b-5], by, using any means or instrumentality of interstate commerce, or of

the mails, or of any facility of any national securities exchange, in connection with

the purchase or sale of any security:

      (a)    to employ any device, scheme, or artifice to defraud;

      (b)    to make any untrue statement of a material fact or to omit to state a

      material fact necessary in order to make the statements made, in the light of

      the circumstances under which they were made, not misleading; or

      (c)    to engage in any act, practice, or course of business which operates or

      would operate as a fraud or deceit upon any person,

             by, directly or indirectly, (i) creating a false appearance or otherwise

      deceiving any investor or prospective investor, or (ii) disseminating false or

      misleading documents, materials, or information or making, either orally or

      in writing, any false or misleading statement in any communication with any

      investor or prospective investor, about:

             (A) any investment strategy or investment,

             (B) the prospects for success of any product or company,

             (C) the use or intended use of investor funds,

             (D) compensation to any person, or


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             (E) returns from the investment.

      IT IS FURTHER ORDERED, ADJUDGED, AND DECREED that, as

provided in Federal Rule of Civil Procedure 65(d)(2), the foregoing paragraph also

binds the following who receive actual notice of this Judgment by personal service

or otherwise: (a) Defendant’s respective officers, agents, servants, employees, and

attorneys; and (b) other persons in active concert or participation with Defendant

or with anyone described in (a).


                                         II.

      IT IS FURTHER ORDERED, ADJUDGED, AND DECREED that

Defendant is permanently restrained and enjoined from violating, directly or

indirectly, Section 17(a) of the Securities Act of 1933 (the “Securities Act”) [15

U.S.C. § 77q(a)] by, in the offer or sale of any security, using any means or

instruments of transportation or communication in interstate commerce or the

mails, directly or indirectly:

      (a)    to employ any device, scheme, or artifice to defraud;

      (b)    to obtain money or property by means of any untrue statement of a

      material fact or any omission of a material fact necessary in order to make

      the statements made, in light of the circumstances under which they were

      made, not misleading; or

      (c)    to engage in any transaction, practice, or course of business which

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      operates or would operate as a fraud or deceit upon the purchaser;

             by, directly or indirectly, (i) creating a false appearance or otherwise

      deceiving any investor or prospective investor, or (ii) disseminating false or

      misleading documents, materials, or information or making, either orally or

      in writing, any false or misleading statement in any communication with any

      investor or prospective investor, about:

             (A) any investment strategy or investment,

             (B) the prospects for success of any product or company,

             (C) the use or intended use of investor funds,

             (D) compensation to any person, or

             (E) returns from the investment.

      IT IS FURTHER ORDERED, ADJUDGED, AND DECREED that, as

provided in Federal Rule of Civil Procedure 65(d)(2), the foregoing paragraph also

binds the following who receive actual notice of this Judgment by personal service

or otherwise: (a) Defendant’s respective officers, agents, servants, employees, and

attorneys; and (b) other persons in active concert or participation with Defendant

or with anyone described in (a).


                                         III.

      IT IS FURTHER ORDERED, ADJUDGED, AND DECREED that,

pursuant to Section 21(d)(2) of the Exchange Act [15 U.S.C. § 78u(d)(2)] and

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Section 20(e) of the Securities Act [15 U.S.C. § 77t(e)], Defendant is prohibited

from acting as an officer or director of any issuer that has a class of securities

registered pursuant to Section 12 of the Exchange Act [15 U.S.C. § 78l] or that is

required to file reports pursuant to Section 15(d) of the Exchange Act [15 U.S.C.

§ 78o(d)].

                                        IV.

      IT IS FURTHER ORDERED, ADJUDGED, AND DECREED that,

Defendant is enjoined from directly or indirectly, including, but not limited to,

through any entity owned or controlled by Defendant, participating in the issuance,

purchase, offer, or sale of any security, provided, however, that such injunction

shall not prevent Defendant from purchasing or selling securities for his own

personal account.

                                          V.

      IT IS FURTHER ORDERED, ADJUDGED, AND DECREED that

Defendant shall pay disgorgement of ill-gotten gains or unjust enrichment and

prejudgment interest thereon, and shall pay civil penalties pursuant to Section

20(d) of the Securities Act [15 U.S.C. § 77t(d)] and Section 21(d)(3) of the

Exchange Act [15 U.S.C. § 78u(d)(3)]. The Court shall determine the amount of

the disgorgement and civil penalty which shall be imposed upon Defendant upon

motion of the Commission. Prejudgment interest on the disgorgement shall be


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calculated from November 30, 2017, based on the rate of interest used by the

Internal Revenue Service for the underpayment of federal income tax as set forth in

26 U.S.C. § 6621(a)(2). In connection with the Commission’s motion for

disgorgement and/or civil penalties, and at any hearing held on such a motion: (a)

Defendant will be precluded from arguing that Defendant did not violate the

federal securities laws as alleged in the Complaint; (b) Defendant may not

challenge the validity of the Consent or this Judgment; (c) solely for the purposes

of such motion, the allegations of the Complaint shall be accepted as and deemed

true by the Court; and (d) the Court may determine the issues raised in the motion

on the basis of affidavits, declarations, excerpts of sworn deposition or

investigative testimony, and documentary evidence, without regard to the standards

for summary judgment contained in Rule 56(c) of the Federal Rules of Civil

Procedure. In connection with the Commission’s motion for disgorgement and/or

civil penalties, the parties may take discovery, including discovery from

appropriate non-parties.

                                         VI.

      IT IS FURTHER ORDERED, ADJUDGED, AND DECREED that,

solely for purposes of exceptions to discharge set forth in Section 523 of the

Bankruptcy Code, 11 U.S.C. § 523, the allegations in the Complaint are true and

admitted by Defendant, and further, any debt for disgorgement, prejudgment


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interest, civil penalty or other amounts due by Defendant under this Judgment or

any other judgment, order, consent order, decree or settlement agreement entered

in connection with this proceeding, is a debt for the violation by Defendant of the

federal securities laws or any regulation or order issued under such laws, as set

forth in Section 523(a)(19) of the Bankruptcy Code, 11 U.S.C. § 523(a)(19).

                                        VII.

      IT IS FURTHER ORDERED, ADJUDGED, AND DECREED that

Defendant, and his officers, agents, employees, servants, attorneys, any bank or

financial institution holding any assets of Defendant and all persons in active

concert or participation with them who receive actual notice of this Judgment by

personal service or otherwise, including facsimile transmission, electronic mail, or

overnight delivery service, are hereby restrained and enjoined from destroying,

mutilating, concealing, altering, disposing, or transferring custody of any items

relating to Defendant or the misconduct described in the Complaint, including but

not limited to any books, records, documents, correspondence, contracts,

agreements, assignments, obligations, tape recordings, computer media or other

property.

                                        VIII.

      IT IS HEREBY FURTHER ORDERED, ADJUDGED, AND DECREED

that Defendant shall submit in writing and serve upon the Commission, within thirty


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(30) business days following service of this Judgment upon him, an accounting

identifying and specifying the location of:

      1.     all assets of every type and description with a value of at least one

thousand dollars ($1,000) presently owned by or held for the direct or indirect

benefit, or subject to the direct or indirect control, of Defendant, whether in the

United States or elsewhere; and

      2.     all accounts held at any bank, brokerage or other financial institution

in the United States or elsewhere in the name, for the direct or indirect benefit, or

under the direct or indirect control, of Defendant, or in which Defendant has or had

any direct or indirect beneficial interest, at any time from August 31, 2017 to the

present.

      Nothing in this Judgment shall be construed to require that Defendant

abandon or waive any constitutional or other legal privilege which he may have

available to him including his Fifth Amendment privilege against self-

incrimination. In turn, nothing in this Judgment shall prevent the SEC from

opposing or challenging any assertion by Defendant of any Fifth Amendment

privilege against self-incrimination, or any other constitutional or other legal

privilege.




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                                         IX.

        IT IS FURTHER ORDERED, ADJUDGED, AND DECREED that

Defendant shall submit in writing to the Commission, within thirty (30) business

days following service of this Judgment upon him, a list of all street and mailing

addresses (including without limitation postal box numbers), telephone or

facsimile transmission numbers (including without limitation pagers and mobile

telephones), electronic mail addresses, safety deposit boxes, and storage facilities

used by him or under his direct or indirect control, at any time since August 31,

2017.

                                          X.

        IT IS FURTHER ORDERED, ADJUDGED, AND DECREED that the

Consent is incorporated herein with the same force and effect as if fully set forth

herein, and that Defendant shall comply with all of the undertakings and

agreements set forth therein.

                                          XI.

        IT IS FURTHER ORDERED, ADJUDGED, AND DECREED that this

Court shall retain jurisdiction of this matter for the purposes of enforcing the terms

of this Judgment and for purposes of ordering further relief.

                                         XII.

        There being no just reason for delay, pursuant to Rule 54(b) of the Federal


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Rules of Civil Procedure, the Clerk is ordered to enter this Judgment forthwith and

without further notice.

Dated: ______________, 2024



                                ___________________________________
                                UNITED STATES DISTRICT JUDGE




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